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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                          )
PETER STRZOK,                             )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                          )                Civil Action No. 19-2367 (ABJ)
ACTING ATTORNEY GENERAL JEFFREY A. )
ROSEN, in his official capacity as Acting )
Attorney General, et al.,                 )
                                          )
                      Defendants.         )
                                          )
                                          )
LISA PAGE,                                )
                                          )
                      Plaintiff,          )
                                          )
       v.                                 )
                                                           Civil Action No. 19-3675 (TSC)
                                          )
U.S. DEPARTMENT OF JUSTICE, et al.,       )
                                          )
                      Defendants.         )
                                          )
                                          )


                          JOINT MOTION FOR ENTRY OF
                   A STIPULATED CLAWBACK AGREEMENT AND
                    FEDERAL RULE OF EVIDENCE 502(d) ORDER

       Plaintiff Peter Strzok, Plaintiff Lisa Page, and Defendants the United States Department of

Justice, the Federal Bureau of Investigation, Acting Attorney General Jeffrey A. Rosen, and FBI

Director Christopher A. Wray respectfully move for entry of a stipulated clawback agreement and

Federal Rule of Evidence 502(d) order in each of the above-captioned actions.1 See Exhibit 1.


1
 The above-captioned cases have been consolidated for purposes of discovery with respect to the
Privacy Act claims. The parties in Civil Action No. 19-2367 (ABJ) are Plaintiff Peter Strzok and
Defendants DOJ; FBI; Jeffrey A. Rosen, in his official capacity as Acting Attorney General; and
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Dated: January 8, 2021                       Respectfully submitted,

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                                             CHRISTOPHER R. HALL
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Christopher A. Wray, in his official capacity as FBI Director. The parties in Civil Action No. 19-
3675 (TSC) are Plaintiff Lisa Page and Defendants DOJ and FBI.

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